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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

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                                          :
SPEECH TRANSCRIPTION, LLC,                :
                                          : Case No. 23-cv-1528-RP
                   Plaintiff,             :
v.                                        :
                                          :
VECTRA AI, INC.,                          :
                                          :
                   Defendant.             :
                                          :
––––––––––––––––––––––––––––––––––––––    x

     VECTRA AI, INC.’S MOTION TO DISMISS THE COMPLAINT OF SPEECH
         TRANSCRIPTION, LLC PURSUANT TO FED. R. CIV. P. 12(C)
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       I.      INTRODUCTION

       Plaintiff Speech Transcription, LLC’s (“Speech Transcription” or “Plaintiff”) sole asserted

patent—U.S. Patent No. 8,938,799 (“the ’799 Patent”)—is directed to nothing more than the

abstract idea of an intermediary that receives and executes security software from multiple

vendors. As a result, the claims are patent-ineligible under Alice Corp. Pty. v. CLS Bank Int’l, 573

U.S. 208 (2014) and its progeny.

       Further, Plaintiff does not plausibly allege that the accused product, the “Vectra AI

Platform,” meets critical claim limitations. Plaintiff provides a conclusory claim chart alleging

infringement of a single system claim by stitching together irrelevant screen captures of Vectra

AI, Inc.’s (“Vectra” or “Defendant”) website purporting to show that the “Vectra AI Platform” can

connect or integrate with third-party technology partners in support of its allegation that the

“Vectra AI Platform” is “an open platform for receiving and executing security function software

modules from multiple vendors for providing defense functions for protection of the host.” But

merely sharing data and connecting with third-party technology partners, does not mean that the

“Vectra AI Platform” “receive[s] and execute[s] security function software modules from multiple

vendors for providing defense functions for protection of the host.” Indeed, Plaintiff concedes as

much as it alleges that this limitation is met only on “information and belief.” Dkt. 1-2 at 3.

Moreover, the documents that Plaintiff cites in support of its infringement allegations belie any

allegation that Vectra, rather than its customers, is responsible for satisfying the elements of the

charted system claim. But infringement of a system claim cannot be divided between multiple

parties. Thus, Plaintiff’s allegations of direct infringement must be dismissed with prejudice.

       Plaintiff’s claims of indirect infringement, both inducement and contributory, fares no

better. The Complaint contains no specific allegations to plausibly support Plaintiff’s claims of

indirect infringement, but only conclusory statements. These indirect infringement claims must


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also be dismissed with prejudice.

       II.     BACKGROUND

                       The ’799 Patent

       Speech Transcription’s Complaint accuses Defendant of infringing only claim 14 of the

ʼ799 Patent. See Dkt. 1 ¶ 27, 31. The ’799 Patent relates generally to the protection and

management of endpoint computing systems. Dkt. 1-1 at Abstract. The ’799 Patent states that an

“endpoint” refers to an “‘end-point computing system’… such as a server, a desktop or laptop PC,

a PDA or a smart phone, or a set-top box.” Id. at 1:16-18. The ’799 Patent explains that “attacks

on computer systems have advanced in variety and sophistication,” and that “[s]ecurity functions,”

such as “defense functions” “work to protect endpoints,” and that “[v]arious implementations of

these functions are well known in the art.” Id. at 1:30-41. “Conventionally . . . the host-based

deployment [of defense functions] requires multiple defense function software modules to be

installed in each host.” Id. at 3:42-48. “Consequently, a deployed security infrastructure consisting

of multiple defense [] functions may burden the host with multiple defense function software.” Id.

at 3:49-52. The ’799 Patent explains that this is disadvantageous because it may “burden the host,”

“may create software conflict and registry corruption issues,” and “cause end-user productivity

loss and unnecessary IT labor cost.” Id. at 3:49-58. Accordingly, the ’799 Patent provides a

“unified security management system,” that comprises a “SUB 101, a hardware and software

subsystem that may run on its own operating system” that “resides in each endpoint 102.” Id. at

8:6-10. “The SUB 101 may function . . . as an open platform on which some or all of host-based

defense function software modules . . . from various vendors can be downloaded and executed in

a Repository and Execution Unit 108” which resides on each endpoint 102 as shown below in Fig.

1B. Id. at 8:42-55.




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       Claim 14, the sole claim charted in Plaintiff’s complaint, recites this basic concept of an

intermediary platform that receives and executes security software modules from multiple vendors

for providing defense functions for protection of the host:

               14.     A security subsystem configurable between a network and a
               host of an endpoint, the security subsystem comprising computing
               resource for providing:

                      an open platform for receiving and executing security
               function software modules from multiple vendors for providing
               defense functions for protection of the host.

                       Speech Transcription’s Complaint

       Speech Transcription’s Complaint alleges that Vectra “sells, advertises, offers for sale,

uses, or otherwise provides exemplary products, including at least the Vectra AI platform” and

alleges that the “Vectra AI Platform” infringes Claim 14 of the ’799 Patent. See Dkt. 1 ¶ 27.

       Plaintiff attaches an infringement chart attempting to map system Claim 14 of the ʼ799

Patent to webpages referencing Vectra’s AI Platform. See Dkt. 1-2. Claim 14 requires a physical

element: “an open platform” that “execute[es] security function software modules from multiple



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vendors for providing defense functions for protection of the host.” But to satisfy this limitation,

Plaintiff merely refers to screen captures of Vectra’s website that purports to show that the “Vectra

AI Platform” can “connect” or “integrate” with its various technology partners. Dkt 1-2 at 3-6.

Importantly, Plaintiff’s claim chart only states that “upon information and belief, the Vectra AI

Platform receives and executes security function software modules from these vendors.” Id. at 3.

Further, the cited excerpts reveal that Vectra’s customers rather than Vectra itself are responsible

for integrating the “Vectra AI Platform” with Vectra’s technology partners. See Dkt. 1-2 at 2 (“The

Vectra® Threat Detection and Response® platform integration with Falcon Insight™ endpoint

detection and response from CrowdStrike® enables security teams to unify network and endpoint

context to detect, verify and isolate cyberattacks in the enterprise quickly and automatically . . .

By harnessing Vectra’s Patented Security AI with Crowdstrike, security teams gain full visibility

of threats across network and endpoints.”), 3 (“The Vectra AI Platform’s Open Architecture lets

you connect to 40+ leading security technologies…”).

       III.    LEGAL STANDARD

                       Alice Prohibits Patenting Claims That Merely Require Generic
                       Computer Implementation of An Abstract Idea

       In defining subject matter eligible for patenting, 35 U.S.C. § 101 contains “an important

implicit exception: Laws of nature, natural phenomena, and abstract ideas are not patentable.”

Alice, 573 U.S. at 216. Section 101 prohibits patenting claims “which merely require generic

computer implementation” of an abstract idea. Id. at 221. In Alice, the Supreme Court set forth a

two-step test for determining whether a claim is directed to such ineligible subject matter.

       Alice step one. The first step is to “determine whether the claims at issue are directed to

one of those patent-ineligible concepts,” e.g., an abstract idea. Id. at 217. “Under this inquiry,

[courts] evaluate the focus of the claimed advance over the prior art to determine if the character



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of the claim as a whole, considered in light of the specification, is directed to excluded subject

matter.” Trading Techs. Int’l, Inc. v. IBG LLC, 921 F.3d 1378, 1384 (Fed. Cir. 2019) (quotation

omitted). Where a claim recites “a desired function or outcome, without providing any limiting

detail that confines the claim to a particular solution to an identified problem,” the “functional

nature of the claim confirms that it is directed to an abstract idea.” Affinity Labs of Tex., LLC v.

Amazon.com, Inc., 838 F.3d 1266, 1269 (Fed. Cir. 2016).

       Alice step two. If a claim is directed to ineligible subject matter, the second step is to

“determine whether [any] additional elements transform the nature of the claim into a patent-

eligible application” by reciting “an inventive concept—i.e., an element or combination of

elements that is sufficient to ensure that the patent in practice amounts to significantly more than

a patent upon the ineligible concept itself.” Alice, 573 U.S. at 217-18 (quotations omitted). Even

if “the techniques claimed are groundbreaking, innovative, or even brilliant, [] that is not enough

for eligibility” if “the advance lies entirely in the realm of abstract ideas.” SAP Am., Inc. v.

InvestPic, LLC, 898 F.3d 1166, 1163 (Fed. Cir. 2018). “What is needed is an inventive concept in

the non-abstract application realm.” Id. at 1168. The “inquiry is not whether the claimed invention

as a whole is unconventional or non-routine,” but “whether the claim limitations other than the

invention’s use of the ineligible concept to which it was directed were well-understood, routine

and conventional.” BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281, 1290 (Fed. Cir. 2018).

       The two-step Alice inquiry is a legal one, which may be decided based on the “intrinsic

evidence from the specification without need for ‘extraneous fact finding outside the record.’”

Secured Mail Sols., LLC v. Universal Wilde, Inc., 873 F.3d 905, 912 (Fed. Cir. 2017) (internal

citation omitted). Accordingly, this Court, like many others, has addressed patent eligibility at the

Rule 12 stage. See Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc., 66 F. Supp. 3d 829, 847




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(E.D. Tex. 2014); Network Architecture Innovations LLC v. CC Network Inc., 2017 WL 1398276,

at *7 (E.D. Tex. Apr. 18, 2017); FairWarning IP, LLC v. Iatric Sys., Inc., 839 F.3d 1089, 1097

(Fed. Cir. 2016).

                        Rule 12(c) Motion for Judgment on the Pleadings

        “A motion for judgment on the pleadings under Rule 12(c) is subject to the same standard

as a motion to dismiss under Rule 12(b)(6).” Doe v. MySpace, Inc., 528 F.3d 413, 418 (5th Cir.

2008). To survive a motion to dismiss, “a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is not

plausible unless the “plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at

556). In making this assessment, courts may consider “the complaint, any documents attached to

the complaint, and any documents attached to the motion to dismiss that are central to the claim

and referenced by the complaint.” Lone Star Fund V (U.S.) L.P. v. Barclays Bank PLC, 594 F.3d

383, 387 (5th Cir. 2010). The court must then decide whether those facts state a claim for relief

that is plausible on its face. Bowlby v. City of Aberdeen, 681 F.3d 215, 219 (5th Cir. 2012). But

courts “are not bound to accept as true a legal conclusion couched as a factual allegation,” and

“[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice” to meet the plausibility standard. Ashcroft, 556 U.S. at 678 (citing

Twombly, 550 U.S. at 555).

                        Direct and Indirect Patent Infringement

        To state a claim for direct infringement, a plaintiff must explicitly plead facts to plausibly

support the assertion that a defendant “without authority makes, uses, offers to sell, or sells any

patented invention . . . during the term of the patent.” 35 U.S.C. § 271(a); see also Fed. R. Civ. P.


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8(a); Ruby Sands LLC v. Am. Nat’l Bank of Tex., 2:15-cv-1955-JRG, 2016 WL 3542430, at *2

(E.D. Tex. June 28, 2016). The Federal Circuit has recognized that its “cases have applied joint

infringement to method claims and not system claims.” See Lyda v. CBS Corp., 838 F.3d 1331,

1339 (Fed. Cir. 2016) (emphasis added) (citing Centillion Data Sys. LLC v. Qwest Commc’ns Int’l

Inc., 631 F.3d 1279, 1284 (Fed. Cir. 2011)). Instead, “direct infringement by use of a system claim

requires a party . . . to use each and every . . . element of a claimed system.” Centillion, 631 F.3d

at 1284 (internal quotation marks and brackets omitted); Intellectual Ventures I LLC v. Motorola

Mobility LLC, 870 F.3d 1320, 1328 (Fed. Cir. 2017). “[T]o use a system for purposes of

infringement, a party must put the invention into service, i.e., control the system as a whole and

obtain benefit from it.” Centillion, 631 F.3d at 1284. (internal quotation marks and citation

omitted). When the complaint fails to allege that the defendant uses (for system claims) or controls

(for method claims) each element of the claim, claims of direct infringement are not plausible and

should be dismissed. See De La Vega v. Microsoft Corp., No. W-19-CV-00612-ADA, 2020 WL

3528411, at *7 (W.D. Tex. Feb. 11, 2020); AlexSam, Inc. v. Aetna, Inc., No. 3:19-CV-01025

(VAB), 2020 WL 5502323, at *15 (D. Conn. Sept. 11, 2020).

       Further, a plaintiff cannot satisfy the Iqbal/Twombly standard “by reciting the claim

elements and merely concluding that the accused product has those elements. There must be some

factual allegations that, when taken as true, articulate why it is plausible that the accused product

infringes the patent claim.” Bot M8 LLC v. Sony Corp. of Am., 4 F.4th 1342, 1353 (Fed. Cir. 2021).

When the complaint fails to allege that the defendant satisfies each element of the claim, claims of

direct infringement are not plausible and should be dismissed. See De La Vega, 2020 WL 3528411,

at *7. A conclusory recitation that “merely track[s] the claim language” is “insufficient to give rise

to a reasonable inference” of infringement. Vervain, LLC v. Micron Tech., Inc., No. 6:21-CV-




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00487-ADA, 2022 WL 23469, at *7 (W.D. Tex. Jan. 3, 2022) (quoting Bot M8, 4 F.4th at 1355);

see also Chhim v. Univ. of Tex. at Austin, 836 F.3d 467, 469 (5th Cir. 2016) (“[W]e do not credit

conclusory allegations or allegations that merely restate the legal elements of a claim.”).

       To succeed on a claim of induced infringement, a plaintiff must allege facts showing that

the defendant: (1) had actual knowledge of the patent; (2) actively and knowingly aided and abetted

a third-party to directly infringe the patent; and (3) had specific intent and action to induce

infringement. See DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1305 (Fed. Cir. 2006); see also

Commil USA, LLC v. Vectra Sys., Inc., 135 S. Ct. 1920, 1926 (2015). The Supreme Court has held

that “induced infringement under § 271(b) requires knowledge that the induced acts constitute

patent infringement.” Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 766 (2011).

       And to succeed on a contributory infringement claim, Plaintiff must allege facts showing

that the defendant: (1) directly infringed, (2) had knowledge of the patent, (3) that the component

has no substantial non–infringing uses, and (4) that the component is a material part of the

invention. See 35 U.S.C. § 271(c); Iron Oak Techs., LLC v. Acer Am. Corp., No. 6:17-cv-00143-

RP-JCM, 2017 WL 9477677, at *6-7 (W.D. Tex. Nov. 28, 2017). Of course, a claim for either

induced or contributory infringement also requires an underlying act of direct infringement. See

Qwikcash, LLC v. Blackhawk Network Holdings, Inc., No. 4:19-CV-876-SDJ, 2020 WL 6781566,

at *5 (E.D. Tex. Nov. 17, 2020) (“Where a plaintiff has not adequately pleaded an underlying act

of direct infringement, theories of indirect infringement must be dismissed.”).

       IV.     ARGUMENT

                       Claim 14 of the ’799 Patent is Directed to Ineligible Subject Matter

       The sole claim charted in the Complaint—Claim 14—is patent-ineligible under Alice Corp.

Pty. v. CLS Bank Int’l, 573 U.S. 208 (2014) and its progeny.




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                       1.       Alice Step One

       Claim 14 of the ’799 Patent recites nothing more than the abstract idea of an intermediary

platform that receives and executes security software modules from multiple vendors. The

preamble of Claim 14 recites a “security subsystem configurable between a network and a host of

an endpoint.” ʼ799 Patent at 19:47-52. The security system—i.e., the apparatus of the claim—is

defined only in terms of the function that it performs: it is configured for “receiving and executing

security functions software modules from multiple vendors for providing defense functions for

protection of the host.” Id. The use of this type of “result-focused, functional character of claim

language . . . has been a frequent feature of claims held ineligible under § 101.” Elec. Power Grp.,

LLC v. Alstom S.A., 830 F.3d 1350, 1356 (Fed. Cir. 2016). And merely combining multiple

modules into one platform—i.e., receiving software from various vendors in a single platform

instead of independent platforms—is undoubtedly abstract. VOXX Int’l Corp. v. Southwest Dealer

Servs., No. SACV 23-350-GW-MAAx, 2023 U.S. Dist. LEXIS 112942, **11-12 (C.D. Cal. 2023)

(finding claims directed to the ineligible abstract idea of “incorporating multiple different

operating modes in a single control module of a vehicle security system.”); see also cxLoyalty, Inc.

v. Maritz Holdings Inc., 986 F.3d 1367, 1380 (Fed. Cir. 2021) (holding as patent-ineligible a claim

for a “platform” which “provides the ability for a participant to use a single loyalty program GUI

to make points-based purchases directly from multiple third-party vendor systems via multiple

APIs.”); Universal Secure Registry LLC v. Apple Inc. 10 F.4th 1342, 1353 (Fed. Cir. 2021), cert.

denied, 212 L. Ed. 2d 778, 142 S. Ct. 2707 (2022) (finding that a system claim which combined

multiple existing security techniques including biometric authentication, multi-factor

authentication, and authentication using multiple devices to verify the identify of a user in a

financial transaction was directed to the abstract idea of “combining long-standing, known

authentication techniques.”).


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       The “security sub-system” containing an “open platform” is directed to nothing more than

the abstract idea of integrating and managing tools from multiple sources. The claimed system

situated “between a network and a host of an endpoint” facilitates exchanges of information

between a host system (i.e., corporate, or residential users) and vendor systems. ʼ799 Patent at

19:47-52. In Plaintiff’s own words, the system of Claim 14 “protect[s] endpoint computing

systems” by “managing, providing, and obtaining security functions.” Dkt. 1 ¶ 14.

       The security subsystem described in Claim 14 amounts to no more than taking security

tools from multiple sources and combining them into one “open platform,” which is inherently

abstract. “The mere combination of []sources, however, does not make the claims patent eligible.”

FairWarning IP, LLC v. Iatric Sys., Inc., 839 F.3d 1089, 1096–97 (Fed. Cir. 2016). The abstract

idea described in Claim 14 is analogous to a toolbox containing various tools such as a hammer,

screwdriver, and saw. Each tool may come from a different source—a hammer from Craftsmen, a

screwdriver from DeWALT, and a saw from Makita—and may perform a different function. But

even if someone takes these tools and combines them in a single toolbox, the system is merely a

result of applying the abstract idea of combining existing sources into a single package without

altering the features of any individual tool. See e-Numerate Sols., Inc. v. United States, 149 Fed.

Cl. 563, 584 (2020) (“The mere combination of data sources, however, does not make the claims

patent eligible”); NexusCard, Inc. v. Kroger Co., 173 F. Supp. 3d 462, 467 (E.D. Tex. 2016), aff’d,

688 F. App’x 916 (Fed. Cir. 2017) (“[D]escribing two abstract ideas in connection with each other

. . . does not cause either abstract idea to then become a concrete thing.”); see also Credit

Acceptance Corp. v. Westlake Servs., 859 F.3d 1044, 1055-56 (Fed. Cir. 2017) (holding that claims

directed to “configuring a computer system to combine data from multiple electronic data sources”

are inherently abstract).




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       The claim at issue here is akin to those held ineligible in VOXX. There, the challenged

representative claim was directed to a “multi-mode vehicle security system,” that included “a

control module wirelessly selectable to operate in one of a plurality of modes . . . a first mode in

which the control module functions as a vehicle security system, a second mode in which the

control module functions as an upgrade to a remote keyless entry (RKE) system, or a third mode

in which the control module functions as a shock sensor upgrade to a vehicle security system.”

VOXX, 2023 U.S. Dist. LEXIS 112942, at *2-3. Plaintiff argued that the claims were directed to a

patent eligible “technical improvement” because “typically, vehicles come equipped with

particular modes that require installation of particular physical components,” but the representative

claim “by contrast, involves a single control module programmed to deploy characteristics of

several different systems, such as security and remote keyless entry.” Id. at **9-10. The Court

summarily rejected this argument because the concept of “incorporating multiple different

operating modes in a single control module of a vehicle security system,” is abstract, and the

representative claim “is directed to a result without explaining how to achieve the result.” Id. at

**11-12 (citing IOENGINE, LLC v. PayPal Holdings, Inc., 607 F. Supp. 3d 464, 484 (D. Del.

2022)). For example, the representative claim “includes no limitations regarding . . . how the modes

for the systems come to be integrated into a singular control module.” VOXX, 2023 U.S. Dist.

LEXIS 112942, at *13. The same is true with respect to Claim 14 of the ’799 Patent. Claim 14 is

directed to a similar abstract idea, combining multiple modules into one platform, without

providing any detail as to how the modules are combined other than through conventional

computing components and techniques, i.e. receiving and executing software modules.

       Plaintiff’s conclusory allegation that the claims of the ’799 Patent “comprise non-

conventional approaches that transform the inventions as claimed into substantially more than




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(mere abstract ideas” and “are not drawn to . . . abstract ideas” cannot save the claims. Conclusory

allegations are given no weight in Section 101 analysis at the Rule 12 stage. Simio, LLC v. FlexSim

Software Prods., Inc., 983 F.3d 1353, 1365 (Fed. Cir. 2020).

       And even a novel combination of abstract elements alone is not sufficient to make

otherwise abstract ideas patentable. “[N]o patent is available . . . however useful, novel, and

nonobvious, unless it falls within one of the express categories of patentable subject matter.”

Kewanee Oil Co. v. Bicron Corp., 416 U.S. 470, 483 (1974). “In addressing the first step of the

section 101 inquiry, as applied to a computer-implemented invention,” it is important “to ask

whether the claims are directed to ‘an improvement in the functioning of a computer,’ or merely

‘adding conventional computer components to well-known business practices.’” Affinity Labs of

Tex., 838 F.3d at 1270 (quoting Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1338 (Fed. Cir.

2016)). Claim 14 of the ʼ799 Patent cannot claim any such improvement because it simply

discusses the integration of multiple security software “modules” without any providing any detail

regarding an actual improvement of the underlying technology beyond the implementation of

computer-based tools used to combine well-known, admittedly conventional, “security modules”

offered by other vendors. Dkt. 1-1 at 1:30-41; VOXX, 2023 U.S. Dist. LEXIS 112942, at *13;

Customedia Techs., LLC v. Dish Network Corp., 951 F.3d 1359, 1364 (Fed. Cir. 2020) (holding

that eligible subject-matter in this context “require[s] the claims to be directed to an improvement

in the functionality of the computer or network platform itself.”).

                       2.      Alice Step Two

       Asserted Claim 14 also fails at Alice step two because no inventive concept can be

identified in the claim. As an initial matter, Plaintiff’s conclusory allegation that the ’799 Patent

contains “inventive concepts which transform the underlying non-abstract aspects of the claims

into patent-eligible subject matter” (Dkt. 1 ¶ 21) cannot help it survive a Rule 12 challenge. Federal


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Circuit precedent requires those allegations be given no weight. Simio, 983 F.3d at 1365.

       And while the Complaint alleges that, for example, “deployed security infrastructure

consisting of multiple defense [] may burden the host.” Dkt. 1 ¶ 15-17. Setting aside that these

allegations contain no factual support, the only proposed solution is the abstract idea of putting the

various defense software functions into an “open platform.” Where, as here, the supposed

inventive concept is wholly in the realm of the abstract, the claims do not contain an inventive

concept and cannot survive at Alice step two. See SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161,

1170 (Fed. Cir. 2018) (finding claim ineligible at Alice step two because “[t]here is, in short,

nothing ‘inventive’ about any claim details, individually or in combination, that are not themselves

in the realm of abstract ideas.”); VOXX, 2023 U.S. Dist. LEXIS 112942, at *16 (rejecting the

argument that the representative claim “supplies an inventive concept because at the time of the

[invention], the idea of incorporating several modes for security systems into a control module was

novel,” because “incorporating various functions . . . is itself an abstract idea.”)

       In addition, Claim 14 only recites generic and conventional computer components (i.e.,

‘computing resources,’ ‘network,’ and ‘endpoint’) and functionality for carrying out the abstract

idea of combining of well-known and non-novel tools offered by others. See e.g., Free Stream

Media Corp. v. Alphonso Inc., 996 F.3d 1355, 1366 (Fed. Cir. 2021) (holding “the claimed

elements . . . comprise generic computing components—e.g., ‘servers’—arranged in a

conventional manner and thus do[] not transform the claim into something other than the abstract

idea”). Notably, nowhere does Claim 14 recite any computer or software that is an advance over

conventional technology. Parus Holdings Inc. v. Sallie Mae Bank, 137 F. Supp. 3d 660, 674 (D.

Del. 2015), aff’d, 677 F. App’x 682 (Fed. Cir. 2017) (finding the claims at issue lacked an inventive

concept because they were not sufficiently specific and did not “reference any customization” of




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the hardware and software described in the claims).

       And Claim 14 does not recite any unique security methods, but rather, an “open platform”

to aggregate already known methods, i.e., a toolbox. This claimed combination recites nothing

more than the “combination of long-standing conventional methods” for security which would

“yield[] expected results of an additive increase in security” from each individual vendor’s module.

Universal Secure Registry LLC, 10 F.4th at 1353. While “[i]mproving security . . . can be a non-

abstract computer-functionality improvement if done by a specific technique that departs from

earlier approaches to solve a specific computer problem,” and nothing in the record suggests such

a technological improvement. CosmoKey Sols. GmbH & Co. KG v. Duo Sec. LLC, 15 F.4th 1091,

1096-97 (Fed. Cir. 2021). “There is nothing in the specification suggesting, or any other factual

basis for a plausible inference (as needed to avoid dismissal), that the claimed combination of these

conventional [] techniques achieves more than the expected sum of the security provided by each

technique.” Universal Secure Registry LLC, 10 F.4th at 1353. There is nothing in Claim 14 that

can save it at Alice step two.

       Accordingly, Claim 14 of the ’799 patent is ineligible under Alice.

                       Plaintiff Makes No Plausible Allegations of Direct Infringement

       The Complaint fails as a matter of law for two reasons: (1) it fails to plausibly allege that

the “Vectra AI Platform” meets the “an open platform for receiving and executing security function

software modules from multiple vendors for providing defense functions for protection of the host”

limitation of Claim 14, and (2) the documents Plaintiff cites to fatally contradict the plausibility of

its own direct infringement allegations as Vectra’s AI Platform would be deployed and controlled

by parties other than Vectra. See De La Vega, 2020 WL 3528411, at *6-7.




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                        1.      Plaintiff Fails to Plausibly Allege Infringement of Critical
                                Claim Elements

        Plaintiff only points to screenshots of Vectra’s website that purport that show that Vectra’s

system can connect or integrate with various technology partners and alleges that because the

“Vectra AI Platform’s open architecture allows to connect with multiple security technologies for

integrated investigations of attacks,” and because this alleged “open platform” “provides end-to-

end protection” by “integrating multiple security vendors,” that “upon information and belief, the

Vectra AI Platform receives and executes security function software modules from these vendors.”

Dkt 1-2 at 3-5. But merely having the ability to connect or integrate with third-party partners does

not mean that the accused product receives and executes a “software module” from such third-

party partners “for providing defense functions for protection of the host.” Indeed, software

applications (apps) are designed to be integrated via API to prevent the need for either app to

directly access or download the other’s codebase of software modules. Plaintiff appears to

acknowledge this, and concedes that its allegations are deficient, as it only alleges that the “Vectra

AI Platform” receives and executes security function software modules from these vendors,” on

“information and belief.” Dkt. 1-2 at 3.

        At best, the infringement charts attached to the Complaint contain attorney-provided

language stating, in conclusory fashion, that this limitation is satisfied. But as this Court has found,

attempts to parrot claim language without support cannot satisfy the pleading standard. See

Vervain, 2022 WL 23469, at *7 (quoting Bot M8, 4 F.4th at 1355); see also Chhim, 836 F.3d at

469 (“[W]e do not credit conclusory allegations or allegations that merely restate the legal elements

of a claim.”); AK Meeting IP LLC v. Zoho Corp., No. 1:22-CV-1165-LY, 2023 WL 1787303, at

*5 (W.D. Tex. Feb. 6, 2023), report and recommendation adopted, No. 1:22-CV-01165-LY, 2023

WL 3035436 (W.D. Tex. Mar. 1, 2023). That is because, as this Court has recognized, such



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unsupported allegations “amount to ‘blanket assertions of infringement insufficient to put’ [a

defendant] on notice.” LS Cloud Storage Techs., LLC v. Amazon.com, Inc., No. 1:22-CV-1167-

RP, 2023 WL 2290291, at *4 (W.D. Tex. Feb. 27, 2023) (internal citations omitted).

       This pleading deficiency is especially egregious because the applicant of the ’799 patent

distinguished prior art (U.S. Patent No. 7,058,796 to Lynn (“Lynn”)) on the basis that Lynn did

not teach “an open platform able to execute security function software modules from multiple

vendors.” In response to a Aug. 3, 2010 final rejection, the applicant filed an appeal brief on April

1, 2011, arguing that “[t]he examiner failed to point out in Lynn any teaching of downloading of

security function software modules from multiple vendors for execution by a computing system

configured so as to provide open platform functionality.” Decl. of K. Padmanabhan, Ex. 1 (Appeal

Brief) at 14. This argument was directed toward claim 27 at the time, which ended up issuing as

claim 14 of the ’799 Patent. Id. at 7-8. According to the applicant Lynn’s system data store (“SDS”)

“does not provide the feature of downloading or executing software modules from multiple

vendors of software,” and therefore, “it is apparent that Lynn does not teach in the cited passage

or elsewhere an apparatus that comprises an open platform able to execute security function

software modules from multiple vendors.” Id. In response, the Patent Trial and Appeal Board

(“PTAB”) on Aug. 8, 2014, reversed the Examiner’s rejection with respect to pending independent

claim 27 and agreed with the Applicant that “the data stores alone do not constitute additionally

executing multiple security function software modules” and that “the Examiner does not identify

in Lynn any teaching of a software module at all.” Decl. of K. Padmanabhan, Ex. 2 (PTAB

Decision) at 4. A notice of allowance was issued thereafter on Nov. 6, 2014, and Examiner stated,

“[t]he application has been allowed in view of the decision rendered by the Patent Trial and Appeal

Board on 8 August 2014.” Decl. of K. Padmanabhan, Ex. 3 (Notice of Allowance) at 4.




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       Because the limitation, “an open platform for receiving and executing security function

software modules from multiple vendors for providing defense functions for protection of the host”

was material to overcoming the prior art in prosecution, it “lay[s] at the point of novelty,” and

pleading infringement “require[s] more than attaching photos of the Accused Products and

summarily alleging that each and every limitation is satisfied.” Vervain, 2022 WL 23469, at *5.

       Accordingly, the Complaint has failed to plausibly allege direct infringement and put

Vectra on notice as to how it infringes the “an open platform for receiving and executing security

function software modules from multiple vendors for providing defense functions for protection

of the host” limitation of Claim 14, the sole claim recitation as to how the claimed apparatus is

configured to function.

                       2.      Direct Infringement of a System Claim Cannot be Satisfied by
                               Different Parties

       To properly plead infringement against Vectra, there must be some plausible allegation

that Vectra “makes, uses, offers to sell, or sells” the patented invention. 35 U.S.C. § 271(a). “In

order to ‘make’ the system under § 271(a), [a defendant] would need to combine all of the claim

elements.” Centillion, 631 F.3d at 1288. Similarly, “[t]o ‘use’ the system, [a defendant] must put

the claimed invention into service, i.e., control the system and obtain benefit from it.” Id. at 1286.

Here, the documents Plaintiff cites to fatally contradict the plausibility of its own direct

infringement allegations as the Complaint fails to advance any theory by which any direct

infringement can be satisfied by Vectra. See Ruby Sands LLC, 2016 WL 3542430, at *4. For

example, the Vectra website documents that Plaintiff relies on expressly indicate that its customers

are responsible for integrations with its technology partners in to design and evaluate their own

networks. See Dkt. 1-2 at 2 (“The Vectra® Threat Detection and Response® platform integration

with Falcon Insight™ endpoint detection and response from CrowdStrike® enables security teams



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to unify network and endpoint context to detect, verify and isolate cyberattacks in the enterprise

quickly and automatically . . . By harnessing Vectra’s Patented Security AI with Crowdstrike,

security teams gain full visibility of threats across network and endpoints.”), 3 (“The Vectra AI

Platform’s Open Architecture lets you connect to 40+ leading security technologies…”) In other

words, any hypothetical infringing network would be deployed and operated by third-parties, not

Vectra. But various limitations of a system claim cannot be provided by different parties—each of

the limitations must be satisfied by a single infringer. See Centillion, 631 F.3d at 1288. “Where,

as here, the factual allegations are actually inconsistent with and contradict infringement, they are

likewise insufficient to state a plausible claim.” Bot M8, 4 F.4th at 1354.

       Accordingly, Plaintiff’s allegations of direct infringement must be dismissed with

prejudice.

                       Plaintiff’s Claims for Pre-Suit Indirect Infringement Should be
                       Dismissed

       Plaintiff also fails to plead any pre-suit knowledge of the ’799 patent, as required to support

a claim for indirect infringement (inducement or contributory infringement). BillJCo, LLC v. Apple

Inc., 583 F. Supp. 3d 769, 777-78 (W.D. Tex. 2022). Plaintiff similarly fails to plead that the

“Vectra AI Platform” has no substantial non-infringing uses, as required to plausibly allege

contributory infringement. Id. at 782 (dismissing contributory infringement claim because patentee

“offer[ed] nothing to support [its] contention” that accused product had no substantial non-

infringing uses).

       V.      CONCLUSION

       For the foregoing reasons, Vectra respectfully requests that this Court grant Vectra’s 12(c)

motion and find claim 14 of the ’799 Patent invalid as directed to ineligible subject matter and to

dismiss the Complaint with prejudice for failure to state a claim.



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Dated: May 29, 2024                   Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that the foregoing document was served upon all counsel of record via the Court’s

CM/ECF electronic filing system in accordance with the Federal Rules of Civil Procedure on May

29, 2024.

                                                            /s/ Krishnan Padmanabhan
                                                            Krishnan Padmanabhan




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